                   Case: 1:19-cv-02188 Document #: 6 Filed: 04/16/19 Page 1 of 2 PageID #:16

AO 440 (Rev. 05/00) Summons in a Civil Action




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HEATHER M. BARCLAY, individually, and on
behalf of all others similarly situated
                                                            CASE NUMBER:           1:19-cv-02188
                                 V.                         ASSIGNED JUDGE:
                                                                                   Hon. Gary Feinerman
                                                            DESIGNATED
 CAPITAL ONE BANK (USA), N.A.
                                                            MAGISTRATEJUDGE:      Hon. Maria Valdez


                    TO:   (Name and address of Defendant)

                  Capital One Bank (USA), N.A.
                  C/O Registered Agent
                  c/o Corporation Service Company
                  111 l E. Main St., Suite 1600
                  Richmond, VA 23218

          YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY (name and address)

                 Joseph S. Davidson
                 Sulaiman Law Group, Ltd.
                 2500 South Highland Avenue, Suite 200
                 Lombard, IL 60148



                                                                               21
an answer to the complaint which is herewith served upon you,                                days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.




                                                                                   April 2, 2019

                                                                                    DATE
             Case: 1:19-cv-02188 Document #: 6 Filed: 04/16/19 Page 2 of 2 PageID #:17

                                                                                                                 --4410    *33515*


  IN THE UNITED ST ATES DISTRICT COURT NORTHERN DISTRICT OF ILLINOIS
Heather M. Barclay, individually, and on behalf of all others similarly situated PLAINTIFF

VS.

Capital One Bank (USA), N.A. DEFENDANT

CASE NO: l:19-cv-02188
CLIENT NO:


                                                          AFFIDAVIT OF SERVICE
        I, the undersigned, do hereby state that I am a person eighteen years or older and not a party otherwise
interested in the subject matter of the controversy.

Said service to, Capital One Bank (USA), N.A. C/0 Registered Agent c/o Corporation Service Company, was
effected for Paul Watson at 1111 E. Main St., Suite 1600, Richmond, VA 23218on 04/12/2019 10:51 AM with a copy
of the:

[X) SUMMONS IN A CIVIL ACTION, CLASS ACTION COMPLAINT, NOTICE OF MANDATORY INITIAL DISCOVERY,
AMENDED STANDING ORDER: for a court return date of in the following manner:

[X) Personal Service                     en
                                   x !.!R-=-!..!ce    No        e:.og�u�i st
                                                           � r� d             , A�q
                                                                           � """  !::1,;e    ..!.lt____________________
                                                                                        >:..!n
[] Substitute Service             x _______________________
                                                 =-..!...:




         Begin unable to make personal service, a copy was delivered in the following manner:
[] Delivered to a family member (not temporary sojourner or guest) age 16 or older at usual place of abode of party
named above after giving information of its purport.

Name: _________________ Age: __ Relation: _________
[] Posted on front door or such other door as appears to be the main entrance to usual place of abode.
[] Served on Secretary of the Commonwealth             x ___________
[] Pursuant to 5 U.S.C. & 5520a, served by certified or registered mail, return receipt re  sted.
[] Not Found                                                                               w
[) No Service
() Copy mailed to judgment debtor after serving the garnishee                            Randy Carmichael
   On date of service unless a different date of mailing is known                        Process Server- Print & Sign
                                                                                         804-421-2773
                                                                                         M.T.G. Process Servers LLC
                                                                                         4907 Fitzhugh Avenue, Suite 201
                                                                                         Richmond, VA 23230

Comments:

Commonwealth of Virginia, County of Henrico
      Submibed and Swom/Affinned befoce me this                         fc:J'1 ok
                                                                             day
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